Case 2:10-cv-01744-JLS-RZ Document 111-1 Filed 03/07/11 Page 1 of 10 Page ID
                                  #:1296
Case 2:10-cv-01744-JLS-RZ Document 111-1 Filed 03/07/11 Page 2 of 10 Page ID
                                  #:1297
Case 2:10-cv-01744-JLS-RZ Document 111-1 Filed 03/07/11 Page 3 of 10 Page ID
                                  #:1298
Case 2:10-cv-01744-JLS-RZ Document 111-1 Filed 03/07/11 Page 4 of 10 Page ID
                                  #:1299
Case 2:10-cv-01744-JLS-RZ Document 111-1 Filed 03/07/11 Page 5 of 10 Page ID
                                  #:1300
Case 2:10-cv-01744-JLS-RZ Document 111-1 Filed 03/07/11 Page 6 of 10 Page ID
                                  #:1301
Case 2:10-cv-01744-JLS-RZ Document 111-1 Filed 03/07/11 Page 7 of 10 Page ID
                                  #:1302
Case 2:10-cv-01744-JLS-RZ Document 111-1 Filed 03/07/11 Page 8 of 10 Page ID
                                  #:1303
Case 2:10-cv-01744-JLS-RZ Document 111-1 Filed 03/07/11 Page 9 of 10 Page ID
                                  #:1304
Case 2:10-cv-01744-JLS-RZ Document 111-1 Filed 03/07/11 Page 10 of 10 Page ID
                                   #:1305
